Case 2:16-cv-10002-MOB-MKM ECF No. 8 filed 01/25/18                PageID.124      Page 1 of 5



                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

IN RE AUTOMOTIVE PARTS ANTITRUST                         CASE NO. 12-MD-02311
LITIGATION
                                                         HON. MARIANNE O. BATTANI


In Re: OCCUPANT SAFETY SYSTEMS CASES


THIS RELATES TO:                                         2:12-cv-00601-MOB-MKM
ALL DIRECT PURCHASER ACTIONS                             2:16-cv-10002


            ORDER GRANTING PRELIMINARY APPROVAL OF
     PROPOSED SETTLEMENT WITH TOYODA GOSEI DEFENDANTS AND
 PROVISIONAL CERTIFICATION OF DIRECT PURCHASER SETTLEMENT CLASS

         Upon consideration of the Direct Purchaser Plaintiffs’ Motion for Preliminary Approval

of Proposed Settlement with Toyoda Gosei Defendants, and for Provisional Certification of a

Direct Purchaser Settlement Class (the “Motion”), it is hereby ORDERED as follows:

         1.     The Motion is hereby GRANTED.

         2.     Terms used in the Order that are defined in the Toyoda Gosei Settlement

Agreement (hereinafter, the “Settlement Agreement”) are, unless otherwise defined herein, used

in this Order as defined in the Settlement Agreement.

                         Preliminary Approval of Settlement Agreement

         3.     The terms of the Settlement Agreement are hereby preliminarily approved as

being fair, reasonable, and adequate to the Settlement Class, subject to a fairness hearing. The

Court finds that the Settlement Agreement was entered into at arm’s length by experienced

counsel and is sufficiently within the range of reasonableness that notice of the Settlement




{00178296 }
Case 2:16-cv-10002-MOB-MKM ECF No. 8 filed 01/25/18                  PageID.125      Page 2 of 5



Agreement should be given to members of the proposed Settlement Class, pursuant to a plan to

be submitted by Settlement Class Counsel to the Court for approval in a separate motion.

                                       Class Certification

         4.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure and in light of the

proposed settlement, the Court hereby finds that the prerequisites for a class action have been

met and provisionally certifies the following class for settlement purposes (the “Settlement

Class”):

               All individuals and entities (excluding Defendants and their
               present and former parents, subsidiaries, and affiliates) who
               purchased Occupant Safety Systems in the United States directly
               from one or more Defendants from January 1, 2003 through
               February 25, 2015.

         5.    For purposes of the Settlement Class definition set forth above, the following

entities are Defendants: Autoliv, Inc., Autoliv ASP, Inc., Autoliv Safety Technology, Inc.,

Autoliv B.V. & Co. KG, Autoliv Japan Ltd., Takata Corporation, TK Holdings, Inc., Tokai Rika

Co., Ltd., TRAM, Inc. d/b/a Tokai Rika U.S.A. Inc., Toyoda Gosei Co., Ltd., Toyoda Gosei

North America Corp., TG Missouri Corp., TRW Automotive Holdings Corporation, and TRW

Deutschland Holding GmbH.

         6.    The Court finds that provisional certification of the Settlement Class is warranted

in light of the Settlement Agreement because: (a) the Settlement Class is so numerous that

joinder is impracticable; (b) the Direct Purchaser Plaintiff Class representatives’ claims present

common issues and are typical of the Settlement Class; (c) the Direct Purchaser Plaintiff Class

representatives and Settlement Class Counsel (identified below) will fairly and adequately

represent the Settlement Class; and (d) common issues predominate over any individual issues

affecting the members of the Settlement Class. The Court further finds that the Direct Purchaser


{00178296 }                                     2
Case 2:16-cv-10002-MOB-MKM ECF No. 8 filed 01/25/18                    PageID.126       Page 3 of 5



Plaintiff Class representatives’ interests are aligned with the interests of all other members of the

Settlement Class. The Court also finds that settlement of this action on a class basis is superior

to other means of resolving the matter.

               Appointment of Class Representatives and Settlement Class Counsel

         7.    The Court hereby appoints Plaintiffs Beam’s Industries, Inc., Findlay Industries,

Inc., and NM Holdings Company, LLC to serve as Class Representatives of the Direct Purchaser

Settlement Class.

         8.    The Court hereby appoints the law firms of Freed Kanner London & Millen LLC,

Kohn, Swift & Graf, P.C., Preti, Flaherty, Beliveau & Pachios LLP, and Spector Roseman &

Kodroff, P.C. to serve as Settlement Class Counsel for the Direct Purchaser Settlement Class,

having determined that the requirements of Rule 23(g) of the Federal Rules of Civil Procedure

are fully satisfied by these appointments.

                                          Other Provisions

         9.    In the event that the Settlement Agreement is terminated in accordance with its

provisions, the Settlement Agreement and all related proceedings shall be null and void, except

insofar as expressly provided to the contrary in the Settlement Agreement, and without prejudice

to the status quo and rights of the Direct Purchaser Plaintiffs, Toyoda Gosei, and the members of

the Settlement Class.

         10.   The Court’s provisional certification of the Settlement Class as provided herein is

without prejudice to, or waiver of, the rights of any Defendant to contest certification of any

other class proposed in these coordinated actions. The Court’s findings in this Order shall have

no effect on the Court’s ruling on any motion to certify any class in these actions or on the

Court’s rulings concerning any Defendant’s motion, and no party may cite or refer to the Court’s


{00178296 }                                      3
Case 2:16-cv-10002-MOB-MKM ECF No. 8 filed 01/25/18                   PageID.127      Page 4 of 5



approval of the Settlement Class as persuasive or binding authority with respect to any motion to

certify any such class or any Defendant’s motion.

         11.   Any potential Settlement Class Member who requests exclusion from the

Settlement Class shall not be precluded, restricted, barred or limited in any way from

participating in any future settlements relating to other Defendants in the Action.

         12.   The Court approves the escrow account referenced in the Settlement Agreement

as a qualified settlement fund (“QSF”) pursuant to Internal Revenue Code Section 468B and the

Treasury Regulations promulgated thereunder, and retains continuing jurisdiction as to any issue

that may arise in connection with the formation or administration of the QSF. Settlement Class

Counsel are authorized to use funds from the QSF in accordance with the Settlement Agreement,

including to pay costs of notice, taxes, tax expenses, and costs of maintaining and administering

the Settlement Fund.

         13.   The Direct Purchaser Class litigation against Toyoda Gosei is stayed except to the

extent necessary to effectuate the Settlement Agreement.

IT IS SO ORDERED.

Date: January 25, 2018                               s/Marianne O. Battani
                                                     MARIANNE O. BATTANI
                                                     United States District Judge




                              CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing Order was served upon counsel of record via the
Court's ECF System to their respective email addresses or First Class U.S. mail to the non-ECF
participants on January 25, 2018.


                                                             s/ Kay Doaks
                                                             Case Manager


{00178296 }                                      4
Case 2:16-cv-10002-MOB-MKM ECF No. 8 filed 01/25/18   PageID.128   Page 5 of 5




{00178296 }                          5
